          Case 3:14-cr-00106-JWD-EWD        Document 78     09/18/20 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA
                                                        CRIMINAL
VERSUS
                                                        NO. 14-106-JWD-EWD
GERARD LATHAN SMITH
                                        OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report (Doc.77) dated August 24, 2020, to which no objection

was filed;

       IT IS ORDERED that the Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or

Correct Sentence by a Person in Federal Custody (Doc. 63) is DENIED with prejudice.

       IT IS FURTHER ORDERED that a certificate of appealability shall be DENIED, if

sought.

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on September 18, 2020.


                                                S
                                     JUDGE JOHN W. deGRAVELLES
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
